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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

LEAGUE OF WOMEN VOTERS                   )
OF MICHIGAN, et al.,                     )
                                         )
        Plaintiffs,                      )
                                         )
v.                                       )    No. 2:17-cv-14148
                                         )
JOCELYN BENSON, in her official          )
capacity as Michigan Secretary of        )
State, et al.,                           )
                                         )
        Defendants.                      )
____________________________________     )
                                     JUDGMENT

              The Court having entered an Opinion and Order on this date, finds in favor of Plaintiffs

       and against Defendants and the Intervening Parties,

              Accordingly,

              Judgment is entered in favor of Plaintiffs and against Defendants and the Intervening

       Parties as stated in the Court’s Opinion and Order.

       Dated: April 25, 2019
                                                             DAVID J. WEAVER
                                                             CLERK OF THE COURT

                                                             BY: s/LaShawn Saulsberry
                                                                    Deputy Clerk

Approved as to form.
                                     /s/ Denise Page Hood
                                     Signed for and on behalf of the panel:

                                     HONORABLE DENISE PAGE HOOD
                                     United States District Judge

                                     HONORABLE ERIC L. CLAY
                                     United States Circuit Judge

                                     HONORABLE GORDON J. QUIST
                                     United States District Judge

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